           Case 2:20-cr-00055-LMA-KWR Document 87-7 Filed 10/22/20 Page 1 of 5




\-.                                   UNITED STATES DISTRICT COURT

                                     EASTERN DISTRICT OF LOUISIANA
                                                               &
      UNITED STATES OF AMERICA                                            CRIMINAL NO: 20-55
                                                               +
                       v                                                  SECTION: "F" (4)

      JASON R. WILLIAMS
      NICOLE E. BURDETT
                                                       &       +      g




                                    DECLARATION OF HAROLD A. ASIIER

               I, Harold A. Asher, declare as follows:

                1.     I    am a Certified Public Accountant with experience in tax compliance, forensic

      accounting, and fraud investigation; and I have been qualified as an expert witness in tax related

      issues, accounting, and forensic investigation numerous times in the Eastern District of Louisiana.

      See   C.Y. at Attachment "A."

\-             2.       I have been informed by Mr.        Williams' counsel that the IRS has stated that it opened

      a   criminal tax investigation into Mr. Williams because (1) Mr. Williams' tax returns reported little

      profit from 2013 to 2016 afi      a loss   in 2017, (2) Mr. Williams' Schedule C included expenses that

      the IRS deemed excessive, and (3) Mr. Williams took deductions in excess of $100,000 for "costs

      of goods sold."

                3.      I   have reviewed Attachment        "B," a spreadsheet   generated   by the IRS of all tax

      returns filed by tax preparer Henry J. Timothy from 2013 through 2016.

                4.      I   have exhacted information from that attachment, compared             it to information
      included in the IRS's statistical tables for nonfarm sole proprietorships for 2013 through 2017,

      available at www.irs.gov/statistics/soi-tax-stats-nonfarm-sole-proprietorship-statistics, and have

      made the following observations:



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       Case 2:20-cr-00055-LMA-KWR Document 87-7 Filed 10/22/20 Page 2 of 5




\-                      Costs of Goods Sold are a                    deduction for a law firm.

            5.       According to the Nonfarm Sole Proprietorships: Income Statements, by Industrial

     Sectors,     Tax Year 2013, 2014, 2015, 2016, and 2017,                         issued   by the IRS       at

     www.irs,gov/statistics/soi-tax-stats-nonfarm-sole-proprietorship-statistics,         all Schedule C's filed

     for legal services during those years deducted $13,022,777,000 in costs of sales and operations.

            6.       In my experience handling tax returns, it is not unusual for a law firm to take

     deductions   for costs ofgoods sold.

            7.       ln20l3, Schedule C's for legal           services reported 52,567,658,000 in "costs of sales

     and operations." ,See Attachment          "C," p.   1.


             8.       In2014, Schedule C's for legal services reported 52,297,967,000 in "costs of sales

     and operations."   Id. atZ.

             9.       In 2015, Schedule C's for legal services reported $2,619,47I,000 in "costs of sales

\-   and operations."   Id. at3.

             10.      In20l6,    Schedule C's for legal services reported $2,787,434,000 in "costs of sales

     and operations."   Id. at 4.

             11.      ln2017, Schedule C's for legal services reported 52,750,247,000 in "costs of sales

     and operations."   Id. at   5.


             12.      Between 2013 and 2017, Schedule C's for legal services reported a total of

     $13,022,777,000     in "costs of        sales and operations," or 6.3%    of the total reported revenues of

     $205,777,556,000. Id. at         l-5.

             13.      Between 2013 and2017,Mr. Williams reported a total of $101,009 in costs of

     goods sold,   or 3.1% ofhis total reported revenues of$3,246,886. Id. at 6-15.




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        Case 2:20-cr-00055-LMA-KWR Document 87-7 Filed 10/22/20 Page 3 of 5




              14.      Based on the IRS's statistics, Mr.    Williams' deduction for costs of goods sold was

      less than half of the national average and should not have raised a red flag to the IRS.

            Excessive Schedule C expenses are prevalent for most of           Mr. Timothv's clients.

              15   .   Based on my review of the IRS 's spreadsheet of all tax retums filed by Mr.   Timothy

      between 2013 and 2016,     it   appears that   Mr. Timothy took excessive deductions for almost all of

      his Schedule C clients.

              16.      Mr. Timothy's Schedule C clients with gross revenues of more than $100,000

      reported an average of 8.44% of their gross revenue as net taxable income. Based on the statistical

      tables published by the IRS, I would expect Mr. Timothy's Schedule       C individuals in this category

      to report 27Yo to 3 0% of their gross revenue as net taxable income. See Ex.     "D."

              17.      Mr. Timothy's Schedule C clients with a gross revenue of more than $200,000

      reported an average of 5.81% of their gross revenue as net taxable income. Based on the statistical

      tables published by the IRS, I would expect Mr. Timothy's Schedule       C individuals in this category

      to report 27%to 30% of their gross revenue as net taxable income. See id.

              18.      The deviation in net taxable income for Mr. Timothy's Schedule C clients leads me

      to suspect that Mr. Timothy may have been taking excessive deductions across the board for most

      or all ofhis Schedule C clients, and perhaps others.

              19. I also analyzedseveral             discrete industries for Schedule C's and compared Mr.

      Timothy's Schedule C clients to the IRS's published statistics for those particular industries. For

      truckers,   I found that Mr. Timothy's   Schedule C clients were reporting7.9oh of their revenues as

      taxable income, compared to a national average          of 17.02%. For contractors, I found that Mr.

      Timothy's Schedule C clients reported .55oh of their revenues as taxable income, compared to a

      national average of 25.06%. See id.


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        Case 2:20-cr-00055-LMA-KWR Document 87-7 Filed 10/22/20 Page 4 of 5




U            20.     I also noticed that Mr. Timothy's Schedule C fishermen clients reported $841,785

      in revenue but zero taxable income. And I found that Mr. Timothy's Schedule C security and

      police detail clients, who I would expect would have little overhead, were deducting more than

      65% of their income on average. This data also leads to me to suspect that Mr. Timothy is taking

      excessive deductions fbr his Schedule       C clients, for whom he prepared approximately      1,589

      retums from 2013 ttrough 2016.

        Many of Mr. Timothv's Schedule C clients reported less profit than that of their peers.

             21.     In addition to reviewing the gross data discussed above, I have compared the tax

      information of five individual Timothy Schedule C clients who reported nominal taxable income

      to the tax information   for   their industry peers. Mr. Williams reported a higher percentage of his

      gross revenue as taxable income than       all five of those individuals, and in general most of Mr.

      Timothy's clients reported lower profits than Mr. Williams.
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      Case 2:20-cr-00055-LMA-KWR Document 87-7 Filed 10/22/20 Page 5 of 5




U     Mr. Williams     appears to be the onlv Timothy client who is also an elected public official.

            22.      Finally,   I caused a search to be made of the database of the Louisiana Ethics
     Administration Program to determine whether any of the Schedule C clienls individuals listed on

     Attachment    "B" filed a Tier 7, 2, or 3 Personal Financial Disclosure Statement-which are
     required for all elected public officials in Louisiana-fiom January   l,   2018 to the present. Using

     the last name, zip code, and business of the individuals listed on Attachment "B," the only

     individual who filed a financial disclosure was Mr. Williams.

            I   declare under penalty   of perjury that the foregoing is true and correct. Executed on

     october    l? ,roro.



                                                           HAROLD A. ASHER
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